Case 3:00-cr-00057-GMG-RWT Document 1147 Filed 12/27/05 Page 1 of 1 PageID #: 2603




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG

   ROBERT LEO BREEDEN,
          Petitioner,

   v.                                                     CIVIL ACTION NO. 3:05CV67
                                                          CRIMINAL ACTION NO. 3:00-CR-57-7
                                                          (BROADWATER)

   UNITED STATES OF AMERICA,
           Respondent.

                   ORDER ADOPTING REPORT AND RECOMMENDATION

          On this day the above styled case came before the Court for consideration of the Report and

   Recommendation of Magistrate Judge James E. Seibert, dated September 26, 2005. The petitioner did

   not file objections to the Report. After reviewing the above, the Court is of the opinion that the

   Magistrate Judge’s Report and Recommendation (Docket # 1126) should be and is hereby ORDERED

   adopted.

          The Court thus ORDERS

          1) petitioner’s petition (Docket # 1095) is DENIED WITH PREJUDICE based on the
          reasons set forth in the Magistrate Judge’s Report and Recommendation;

          2) petitioner’s motion pursuant to Title 28 United States Code Section 2241 (Docket # 1114)
          is DENIED WITH PREJUDICE; and

          4) this action be and is hereby STRICKEN from the active docket of this Court.

          The Clerk is directed to transmit true copies of this Order to the petitioner, counsel of record

   herein, and the Honorable James E. Seibert.

          DATED this 27th day of December, 2005.
